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February 1, 2018


BY ECF

Honorable Robert N. Chatigny
United States District Court
District of Connecticut
Abraham Ribicoff Federal Building
450 Main Street - Room 228
Hartford, Connecticut 06103

Re:       United States v. Shapiro, 15-cr-155 (RNC)

Dear Judge Chatigny:

       We write on behalf of Defendant Michael Gramins and in response to the Court’s recent
Order setting jury selection for any retrial of this matter to begin on May 8, 2018 (ECF No. 491).
Unfortunately, counsel for Mr. Gramins and the government have other trials scheduled that will
prevent proper preparation for a retrial that starts on May 8th.

         Lead counsel for Mr. Gramins is also lead counsel in the upcoming trial of United States
v. Flotron, No. 3:17-cr-00220-JAM (D. Conn.). Jury selection in the Flotron case is set for April
6, 2018, and evidence is scheduled to begin on April 9, 2018. We anticipate that this trial will
last for approximately three weeks. In addition, on April 17, 2018, AUSA Cherry and the lead
Shapiro case agent are scheduled to select a jury for the trial of United States v. Demos, No.
3:16-cr-00220-AWT (D. Conn.), with evidence to begin on April 23, 2018. Accordingly, Your
Honor’s May 8, 2018, date for any retrial of the Shapiro case is going to be unworkable for Mr.
Gramins’ counsel and key members of the government’s team.

        We respectfully request that the Court set evidence to begin on or after July 16, 2018, and
exclude the further delay under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv).
This will give counsel for Mr. Gramins and the government adequate time to prepare for a retrial
after the conclusions of their respective April trials.

       We have conferred with the government and counsel for Mr. Shapiro. Government
counsel has indicated its agreement with this request. Counsel for Mr. Shapiro has said that Mr.




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Shapiro is prepared to proceed on May 8th, as the Court proposed, or, alternatively, on or after
June 26, 2018.

                                                                    Respectfully submitted,

                                                                    /s/ Marc L. Mukasey

                                                                    Marc L. Mukasey

cc:     all counsel




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